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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW PERRONG, individually and               )   CASE NO. 2:21-cv-04185-CDJ
 on behalf of all others similarly situated,    )
                                                )   JUDGE: C. DARNELL JONES, II
                Plaintiff,                      )
                                                )
 vs.                                            )
                                                )
 JOHN DOE CORPORATION d/b/a                     )
 NATIONAL ADVOCATES, et al.,                    )
                                                )
                Defendants.                     )

          DEFENDANT THE LAKE LAW FIRM’S MEMORANDUM OF LAW
           IN SUPPORT OF ITS MOTION FOR LEAVE TO FILE A REPLY
               IN FURTHER SUPPORT OF ITS MOTION TO DISMISS

       Defendant The Lake Law Firm (“Lake”) hereby seeks leave to file a Reply to address

misstatements of law and misrepresentations of the pleadings in Plaintiff’s Response to

Defendant’s Motion to Dismiss (“Response”). (See Doc. 16.) In fairness, Lake requests a chance

to respond to these maneuvers, and rebut Plaintiff’s efforts to recharacterize and somehow salvage

his defective Amended Complaint.

       The attached Reply refutes Plaintiff’s novel theory that a prospective attorney-client

relationship communication is a “telephone solicitation” under 47 C.F.R. § 64.1200(c). In effect,

on behalf of a putative nationwide class, Plaintiff asks the Court to expand the definition of a

“telephone solicitation.” The Court should not allow it. Under the narrow statutory definition of

a “telephone solicitation,” there is no possibility that Plaintiff can prevail in this action. This is

true even under Plaintiff’s own misstated version of the governing standard, since Plaintiff alleged

and admitted that he was not asked to pay for anything. (Doc. 12, ¶ 38.) Plaintiff’s statutory

“telephone solicitation” allegations do not state a claim under the law.
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        The attached Reply also refutes Plaintiff’s case theory that a contract to generate leads in

certain geographic areas satisfies vicarious liability. In the Response, Plaintiff asks the Court to

not extrapolate the facts missing from the Complaint, and instead find that “acquiescence” is

control. Plaintiff is wrong. An allegation of “acquiescence” does not amount to an allegation that

Lake controlled, or even had the right to control, the manner and means by which Defendant

National Advocates allegedly made the at-issue calls. Plaintiff’s vicarious liability allegations do

not state a claim under the law.

        Accordingly, the Response and the Amended Complaint are a bid to circumvent the

statutory definition of “telephone solicitation,” as well as the law of vicarious liability. In order to

set the record straight and forestall improper claims asserted by Plaintiff, Lake respectfully

requests that the Court grant its request for leave and deem filed the attached Reply in Further

Support of Lake’s Motion to Dismiss.




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Dated: January 12, 2022                 Respectfully submitted,


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